
Case held and matter remitted to the Court of Claims for findings in support of the judgment. Memorandum: Upon the trial had before the Court of Claims, the parties litigated issues pertaining to negligence and contributory negligence. No oral or written decision was made by the trial court. It is therefore impossible for an appellate court to adequately review the judgment. Accordingly, the appeal should be held and the matter remitted to the trial court to make a proper decision in accordance with the statute. (See Civ. Prac. Act, §§ 439, 440.) All concur. (Appeal from a judgment of the Court of Claims, dismissing a claim against the State for damages resulting from negligent condition of State highway. The order denied claimant’s motion to vacate the judgment.) Present — McCurn, P. J., Vaughan, Kimball, Wheeler and Van Duser, JJ.
